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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
 NETWORK DATA ROOMS, LLC,                                     :
                                              Plaintiff,      :
                                                              :    22 Civ. 2299 (LGS)
                            -against-                         :
                                                              :         ORDER
 SAULREALISM LLC, et al.,                                     :
                                              Defendants. :
                                                              :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, on August 19, 2022, Plaintiff filed a letter requesting a pre-motion

conference to impose sanctions against Defendants for spoliation of evidence;

        WHEREAS, on August 19, 2022, Defendants filed a letter in opposition. It is hereby

        ORDERED that the parties shall be prepared to address the spoliation issue at the hearing

scheduled for September 20, 2022.

Dated: August 31, 2022
       New York, New York
